                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


JOHN HUBER,
                       Plaintiff,

         v.                                                      Case No. 21-CV-969

DAVID G BETH, et al.,
                 Defendants.


                           COURT MINUTES OF CONFERENCE

Judge Lynn Adelman, presiding                     Date: 05/05/2023
Time Commenced: 9:45 a.m.                         Concluded: 10:05 a.m.
Deputy Clerk: MJA                                 Court Reporter: None

APPEARANCES:

Plaintiff: Anand Swaminathan, Steve Art, and Quinn Rallins
Defendants Daniel G. Miskinis, Eric Larsen, John Doe Police Officers of the
Kenosha Police Department, Menomonee Falls Police Department, West Allis
Police Department, the City of Kenosha, Village of Menomonee Falls and the City of
West Allis: Ted Waskowski and Kyle W. Engelke
Defendants David G. Beth, Kenosha County, Waukesha County, Racine County,
Sauk County, Walworth County, and Washington County: Samuel C. Hall, Jr.
Defendant Kyle Rittenhouse: Natalie L. Wisco
Nature of Conference: Telephonic Scheduling Conference
Notes:
   •     Possibility of consolidation with Case No. 21-C-1192 for purposes of discovery
         discussed. Plaintiff’s counsel indicates that he intends to discuss the matter with
         counsel for plaintiff in other case. Court expresses the view that consolidation
         likely makes sense given the overlap in witnesses, etc. If the parties in both
         cases agree to consolidation, they should file a letter or other document with the
         court.



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•   Court address dispute over deadlines for expert discovery and will include
    relevant dates in scheduling order.
•   Parties note that they have agreed to allow 15 depositions in addition to the
    depositions of the parties and their experts.
•   Plaintiff agrees that defendants’ deadline to amend pleadings or join parties can
    be 60 days before the close of fact discovery.
•   Scheduling order will reflect that dispositive motions will be due 30 days after the
    close of expert discovery.




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